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   UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                        §
                                                  §
  versus                                          §           CASE NO. 4:15-CR-88(11)
                                                  §
  MANUEL CISNEROS                                 §

                                 MEMORANDUM AND ORDER

           Pending before the court is Defendant Manuel Cisneros’s (“Cisneros”) Motion for

  Modification of Sentence Seeking Compassionate Release (#820), wherein he requests that the

  court grant him home confinement due to the threat of Coronavirus Disease 2019 (“COVID-19”).

  The Government opposes the motion (#826). After conducting an investigation, United States

  Probation and Pretrial Services (“Probation”) recommends denying the motion.            Having

  considered the motion, the Government’s response, Probation’s recommendation, the record, and

  the applicable law, the court is of the opinion that the motion should be denied.

  I.       Background

           Cisneros’s offense of conviction stems from his involvement in a drug-trafficking

  conspiracy. On February 11, 2016, a federal grand jury in the Eastern District of Texas returned

  a Third Superseding Indictment charging Cisneros and 18 others in Count 1 with Conspiracy to

  Possess With the Intent to Manufacture and Distribute Cocaine, in violation of 21 U.S.C. § 846.

  Subsequently, on January 31, 2017, Cisneros pleaded guilty to the charged offense pursuant to a

  non-binding plea agreement.      On July 7, 2017, the court sentenced him to 97 months’

  imprisonment, followed by a three-year term of supervised release. Cisneros is currently housed

  at the Federal Correctional Institution Beaumont Low, located in Beaumont, Texas (“FCI

  Beaumont Low”). His projected release date is May 2, 2024.
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  II.    Analysis

         On December 21, 2018, President Trump signed the First Step Act of 2018 into law. See

  First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194. The Act, in part, amended 18

  U.S.C. § 3582(c), which gives the court discretion, in certain circumstances, to reduce a

  defendant’s term of imprisonment:

         The court, upon motion of the Director of the Bureau of Prisons (“BOP”), or upon
         motion of the defendant after the defendant has fully exhausted all administrative
         rights to appeal a failure of the [BOP] to bring a motion on the defendant’s behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may reduce the term of imprisonment
         (and may impose a term of probation or supervised release with or without
         conditions that does not exceed the unserved portion of the original term of
         imprisonment), after considering the factors set forth in section 3553(a) to the
         extent that they are applicable, if it finds that extraordinary and compelling reasons
         warrant such a reduction; or the defendant is at least 70 years of age, has served
         at least 30 years in prison, pursuant to a sentence imposed under section 3559(c),
         for the offense or offenses for which the defendant is currently imprisoned, and a
         determination has been made by the Director of the [BOP] that the defendant is not
         a danger to the safety of any other person or the community, as provided under
         section 3142(g); and that such a reduction is consistent with applicable policy
         statements issued by the Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A). This provision is commonly referred to as “compassionate release.”

         Prior to the First Step Act, only the Director of the BOP could file a motion seeking

  compassionate release. See United States v. Franco, 973 F.3d 465, 467 (5th Cir. 2020) (“Prior

  to the passage of the First Step Act . . . courts lacked the power to adjudicate motions for

  compassionate release.”); Tuozzo v. Shartle, No. 13-4897, 2014 WL 806450, at *2 (D.N.J. Feb.

  27, 2014) (denying petitioner’s motion for compassionate release because no motion for his release

  was filed by the BOP). The First Step Act amended § 3582(c) by providing a defendant the means

  to appeal the BOP’s decision not to file a motion for compassionate release on the defendant’s

  behalf. United States v. Cantu, 423 F. Supp. 3d 345, 347 (S.D. Tex. 2019); United States v. Bell,

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  No. 3:93-CR-302-M, 2019 WL 1531859, at *1 (N.D. Tex. Apr. 9, 2019). The plain language

  of the statute, however, makes it clear that the court may not grant a defendant’s motion for

  compassionate release unless the defendant has complied with the administrative exhaustion

  requirement. 18 U.S.C. § 3582(c)(1)(A); Franco, 973 F.3d at 467 (holding that the statutory

  requirement that a defendant file a request with the BOP before filing a motion for compassionate

  release in federal court “is not jurisdictional but that it is mandatory”); United States v. Alam, 960

  F.3d 831, 833 (6th Cir. 2020) (“Even though [the] exhaustion requirement does not implicate [the

  court’s] subject-matter jurisdiction, it remains a mandatory condition.”); United States v. Raia,

  954 F.3d 594, 597 (3d Cir. 2020) (“[T]he exhaustion requirement . . . presents a glaring

  roadblock foreclosing compassionate release.”). Thus, before seeking relief from the court, a

  defendant must first submit a request to the warden of his facility to move for compassionate

  release on his behalf and then either exhaust his administrative remedies or wait for the lapse of

  30 days after the warden received the request. 18 U.S.C. § 3582(c)(1)(A); Franco, 973 F.3d at

  467 (“The text . . . outlines two routes a defendant’s motion can follow to be properly before the

  court. Both routes begin with the defendant requesting that ‘the [BOP]’ ‘bring a motion on the

  defendant’s behalf.’”); United States v. Harris, 812 F. App’x 106, 107 (3d Cir. 2020); United

  States v. Springer, 820 F. App’x 788, 791 (10th Cir. 2020) (defendant “was required to request

  that the BOP file a compassionate-release motion on his behalf to initiate his administrative

  remedies” (citing Raia, 954 F.3d at 595)); Alam, 960 F.3d at 833-34; United States v. Soliz, No.

  2:16-190-3, 2020 WL 2500127, at *3 (S.D. Tex. May 14, 2020) (“§ 3582(c)(1)(A) does not

  provide this Court with the equitable authority to excuse [defendant’s] failure to exhaust his




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  administrative remedies or to waive the 30-day waiting period.” (quoting United States v. Reeves,

  No. 18-00294, 2020 WL 1816496, at *2 (W.D. La. Apr. 9, 2020))).

         Here, Cisneros states that he “requested a reduction in sentence based on concerns about

  COVID-19 to the Warden at El Reno FCI, where he [was formerly] housed.” On June 1, 2020,

  Warden S. R. Grant denied Cisneros’s request, noting that

         The BOP is taking extraordinary measures to contain the spread of COVID-19 and
         treat any affected inmates. We recognize that [he], like all of us, [has] legitimate
         concerns and fears about the spread and effects of the virus. However, [his]
         concern about being potentially exposed to, or possibly contracting, COVID-19
         does not currently warrant an early release from [his] sentence.

  Although Cisneros may have complied with the exhaustion requirement before filing the instant

  motion, nothing in his motion indicates that extraordinary and compelling reasons exist to modify

  his term of imprisonment.

         Congress did not define “extraordinary and compelling.” Rather, it elected to delegate its

  authority to the United States Sentencing Commission (“the Commission”). See 28 U.S.C.

  § 994(t) (“The Commission, in promulgating general policy statements regarding the sentencing

  modification provisions in section 3582(c)(1)(A) of title 18, shall describe what should be

  considered extraordinary and compelling reasons for sentence reduction, including the criteria to

  be applied and a list of specific examples.”); see also U.S. SENTENCING GUIDELINES MANUAL

  § 1B1.13 (U.S. SENTENCING COMM’N 2018) (“USSG”). In Application Note 1 to § 1B1.13 of

  the USSG, the Commission defined “extraordinary and compelling reasons” to include the

  following four categories of circumstances: (i) certain medical conditions of the defendant; (ii)

  the defendant is 65 years or older and meets other requirements; (iii) the defendant’s family has

  specified needs for a caregiver; and (iv) other reasons in the defendant’s case that establish an


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  extraordinary and compelling reason. The court must also consider the factors set forth in 18

  U.S.C. § 3553(a),1 as applicable, and find that the sentence modification is consistent with the

  policy statements issued by the Commission. 18 U.S.C. § 3582(c)(1)(A). The policy statement

  regarding compassionate release requires a determination that “the defendant is not a danger to

  the safety of any other person or to the community.” U.S.S.G. § 1B1.13(2).

          A.      Medical Condition

          In the instant motion Cisneros, age 32, contends that he is eligible for compassionate

  release due to his medical condition, specifically that he suffers from Type 2 diabetes mellitus.

  The USSG provides that extraordinary and compelling reasons exist regarding a defendant’s

  medical condition when the defendant is “suffering from a terminal illness (i.e., a serious and

  advanced illness with an end of life trajectory)” or when a defendant is “suffering from a serious

  physical or medical condition,” “suffering from a serious functional or cognitive impairment,”

  or “experiencing deteriorating physical or mental health because of the aging process, that

  substantially diminishes the ability of the defendant to provide self-care within the environment

  of a correctional facility and from which he or she is not expected to recover.” U.S.S.G.

  § 1B1.13 cmt. n.1(A).




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            Section 3553(a) directs courts to consider: the nature and circumstances of the offense and the
  defendant’s history and characteristics; the need to reflect the seriousness of the offense, to promote
  respect for the law, and to provide just punishment for the offense; the need to deter criminal conduct; the
  need to protect the public; the need to provide the defendant with needed educational or vocational training,
  medical care, or other correctional treatment in the most effective manner; the kinds of sentences and
  sentencing ranges established for defendants with similar characteristics under applicable USSG provisions
  and policy statements; any pertinent policy statement of the Commission in effect on the date of sentencing;
  the need to avoid unwarranted disparities among similar defendants; and the need to provide restitution to
  the victim. 18 U.S.C. § 3553(a).

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         Here, according to Cisneros’s Presentence Investigation Report (“PSR”), prepared in 2017,

  Cisneros informed Probation that he was diagnosed with Type 2 diabetes in 2011, but that he was

  not insulin dependent. At the time his PSR was prepared, Cisneros reported that he was

  prescribed Januvia to lower his blood sugar levels. Cisneros’s BOP medical records confirm that

  he is actively monitored and is currently prescribed atorvastatin, glipizide, lisinopril, metformin,

  and aspirin to treat his Type 2 diabetes. According to his BOP medical records, Cisneros has

  repeatedly refused treatment with insulin, although it lowered his blood sugars, as noted in medical

  records dated January 28, 2020, and February 5, 2020. During a January 28, 2020, clinical

  encounter, a BOP medical provider noted with regard to Cisneros that “[t]his inmate does not want

  treatment for his diabetes. He insists that he can ‘manage this on my own. I see the other guys

  here. They do the wrong thing.’”

         Although it is apparent from his medical records that Cisneros has been counseled by

  medical personnel about the importance of taking his medications and adjusting his diet, a note

  authored by Spencer Zeavin, M.D., on March 26, 2020, reveals that Cisneros failed to take his

  medication for an entire week and that “[h]e has been eating cinnamon toast crunch, ice cream,

  and other sweets from commissary.” Nevertheless, as of June 10, 2020, Cisneros’s hemoglobin

  A1C levels had improved to 6.4 from a recorded 9.6 on February 4, 2020, denoting that he was

  only borderline diabetic. Moreover, Cisneros is classified as a Care Level 1 inmate (healthy or

  simple chronic care), indicating that he is generally healthy with only limited medical needs that

  can be managed by clinical evaluations every six to twelve months.

         Hence, Cisneros’s medical summary does not meet the criteria listed above. None of

  Cisneros’s medical conditions is terminal or substantially diminishes his ability to provide self-


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  care. Indeed, as reflected in BOP records, dated November 16, 2020, Cisneros is housed in

  general population, has no medical restrictions, has regular duty work assignments, and is cleared

  for food service. His current work detail is in the dairy department. Accordingly, Cisneros has

  failed to establish that a qualifying medical condition exists that would constitute extraordinary and

  compelling reasons to reduce his sentence. Even if Cisneros’s medical condition constituted an

  extraordinary and compelling reason under § 3582(c)(1)(A), “compassionate release is

  discretionary, not mandatory, and [may] be refused after weighing the sentencing factors of 18

  U.S.C. § 3553(a).” United States v. Chambliss, 948 F.3d 691, 693 (5th Cir. 2020). Where, as

  here, a prisoner has engaged in “severe” criminal conduct, the district court has discretion to deny

  compassionate release after weighing the evidence. Id. at 693-94.

         B.      “Other” Reasons

         Cisneros’s request for compassionate release potentially falls into the fourth, catch-all

  category of “other” extraordinary and compelling reasons, which specifically states that the

  Director of the BOP shall determine whether “there exists in the defendant’s case an extraordinary

  and compelling reason other than, or in combination with, the reasons described in subdivisions

  (A) through (C).” U.S.S.G. § 1B1.13 cmt. n.1(D). Although Subdivision D is reserved to the

  BOP Director, the Commission acknowledged, even before the passage of the First Step Act, that

  courts are in the position to determine whether extraordinary and compelling circumstances are

  present. United States v. Beck, 425 F. Supp. 3d 573, 583 (M.D.N.C. 2019) (“Read in light of

  the First Step Act, it is consistent with the previous policy statement and with the Commission

  guidance more generally for courts to exercise similar discretion as that previously reserved to the

  BOP Director in evaluating motions by defendants for compassionate release.”); see Cantu, 423


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  F. Supp. 3d at 352 (“[T]he correct interpretation of § 3582(c)(1)(A) . . . is that when a defendant

  brings a motion for a sentence reduction under the amended provision, the Court can determine

  whether any extraordinary and compelling reasons other than those delineated in U.S.S.G.

  § 1B1.13 cmt. n.1(A)-(C) warrant granting relief.”).

         In the case at bar, there is no indication that the BOP Director made a determination

  regarding the presence of extraordinary and compelling reasons with respect to Cisneros for any

  “other” reason. In exercising its discretion, the court, likewise, finds that no extraordinary and

  compelling reasons exist in relation to Cisneros’s situation. Cisneros expresses concerns regarding

  the spread of COVID-19 among the prison population. Nevertheless, as of January 11, 2021, the

  figures available at www.bop.gov list 29 inmates (out of a total inmate population of 1,660) and

  2 staff members at FCI Beaumont Low as having confirmed positive cases of COVID-19, 1,136

  inmates and 4 staff members who have recovered, and 1 inmate who has succumbed to the disease.

  Thus, it appears that the facility where Cisneros is housed is handling the outbreak appropriately

  and providing adequate medical care.

         Although Cisneros expresses legitimate concerns regarding COVID-19, he does not

  establish that the BOP cannot manage the outbreak within his correctional facility or that the

  facility is specifically unable to treat Cisneros, if he were to contract the virus and develop

  COVID-19 symptoms, while incarcerated. See Raia, 954 F.3d at 597 (“[T]he mere existence of

  COVID-19 in society and the possibility that it may spread to a particular prison alone cannot

  independently justify compassionate release, especially considering BOP’s statutory role, and its

  extensive and professional efforts to curtail the virus’s spread.”); United States v. Banks, No. CR

  15-0080-02, 2020 WL 6839267, at *4 (W.D. La. Nov. 20, 2020) (“This Court cannot equate the


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  generalized fear of COVID-19 to an extraordinary and compelling reason to support compassionate

  release, nor will it undermine BOP’s criteria to determine eligibility for sentence reductions or

  home confinement.”); United States v. Woods, No. 4:11-CR-106-SDJ, 2020 WL 6391591, at *4

  (E.D. Tex. Nov. 2, 2020) (noting that “courts have concluded that an inmate’s concerns about

  risks associated with the spread of COVID-19 are not consistent with the policy statement of the

  Commission as required by Section 3582(c)(1)(A)”); United States v. Vasquez, No. CR

  2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“General concerns about the

  spread of COVID-19 or the mere fear of contracting an illness in prison are insufficient grounds

  to establish the extraordinary and compelling reasons necessary to reduce a sentence.” (quoting

  United States v. Koons, 455 F. Supp. 3d 285, 292 (W.D. La. 2020))); United States v. Clark, 451

  F. Supp. 3d 651, 656 (M.D. La. 2020) (finding the defendant had failed to present extraordinary

  and compelling reasons to modify his prison sentence because he “does not meet any of the criteria

  set forth by the statute” and he “cites no authority for the proposition that the fear of contracting

  a communicable disease warrants a sentence modification”). Furthermore, contracting the virus

  while incarcerated, even in conjunction with preexisting health conditions, is insufficient to

  establish exceptional and compelling circumstances warranting compassionate release. See United

  States v. Jackson, No. 3:16-CR-196-L-1, 2020 WL 4365633, at *2 (N.D. Tex. July 30, 2020)

  (finding that defendant had failed to present extraordinary and compelling reasons for

  compassionate release despite suffering from previous underlying health conditions and testing

  positive for COVID-19). Thus, Cisneros has failed to establish that a qualifying medical condition

  or other reasons exist that would constitute extraordinary and compelling reasons to warrant his

  release to home confinement.


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          The court further finds that compassionate release is not warranted in light of the applicable

   factors set forth in § 3553(a). See 18 U.S.C. § 3582(c)(1)(A) (requiring courts to consider the

   § 3553(a) factors before granting compassionate release); Chambliss, 948 F.3d at 693-94.

   Cisneros’s offense of conviction entails his participation in a large-scale, international drug-

   trafficking conspiracy in which he was held responsible for the distribution of between 15 and 50

   kilograms of cocaine. Cisneros supplied coconspirators with kilogram quantities of cocaine from

   various sources for distribution to others in the Eastern and Northern Districts of Texas. As part

   of the conspiracy, Cisneros received kilogram quantities of cocaine in Dallas, Texas, delivered

   by couriers dispatched from the Texas-Mexico border area, from which he distributed the cocaine

   to customers in Northeast Texas.

          Cisneros has a history of poly-substance abuse. In fact, Cisneros violated his conditions

   of pretrial release when he tested positive for marijuana on June 7, 2017. Cisneros reported that

   beginning at age 14, he smoked up to 3 grams of marijuana daily. Cisneros also consumed alcohol

   weekly, as well as ecstasy and cocaine occasionally. At the time of sentencing, he had a pending

   charge for possession of marijuana in Dallas County stemming from his arrest on February 1,

   2013. According to the offense report, police officers responded to an area in reference to a

   robbery and conducted a traffic stop on the vehicle Cisneros was driving, in which officers

   discovered an unrestrained 15-month-old child. A search of the vehicle revealed more than 10

   grams of marijuana in a backpack that also contained baby items and $2,645 in currency. In view

   of the circumstances surrounding Cisneros’s offense of conviction and his history of poly-

   substance abuse, the court cannot conclude that he would not pose a danger to any other person

   or to the community, if released from prison.


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          Moreover, the BOP has instituted a comprehensive management approach that includes

   screening, testing, appropriate treatment, prevention, education, and infection control measures

   in response to COVID-19. In response to a directive from the former United States Attorney

   General in March 2020, the BOP immediately began reviewing all inmates who have COVID-19

   risk factors, as described by the Centers for Disease Control and Prevention, for the purpose of

   determining which inmates are suitable for placement on home confinement. See United States

   v. Collins, No. CR 04-50170-04, 2020 WL 1929844, at *3 (W.D. La. Apr. 20, 2020). The BOP

   notes that inmates need not apply to be considered for home confinement, as this is being done

   automatically by case management staff. Since March 26, 2020, the BOP has placed 20,125

   inmates on home confinement. The March 2020 directive is limited to “eligible at-risk inmates

   who are non-violent and pose minimal likelihood of recidivism and who might be safer serving

   their sentences in home confinement rather than in BOP facilities.” United States v. Castillo, No.

   CR 2:13-852-1, 2020 WL 3000799, at *3 (S.D. Tex. June 2, 2020). The BOP has the exclusive

   authority to determine where a prisoner is housed; thus, the court is without authority to order

   home confinement. 18 U.S.C. § 3621(b); United States v. Donnell, ___ F. Supp. 3d ___, No.

   4:10-CR-65-SDJ-CAN, 2020 WL 5939095, at *7 (E.D. Tex. Aug. 4, 2020); Ambriz v. United

   States, 465 F. Supp. 3d 630, 633 (N.D. Tex. 2020); United States v. Miller, No. 2:17-CR-015-D

   (02), 2020 WL 2514887, at *1 (N.D. Tex. May 15, 2020) (“[N]either the CARES Act nor the

   First Step Act authorizes the court to release an inmate to home confinement.”).

          In his Memorandum to the BOP dated March 26, 2020, former Attorney General Barr

   acknowledges that the Department of Justice (“DOJ”) has an obligation to protect both BOP

   personnel and inmates. He also notes that the DOJ has the responsibility of protecting the public,


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   meaning that “we cannot take any risk of transferring inmates to home confinement that will

   contribute to the spread of COVID-19 or put the public at risk in other ways.” The Attorney

   General issued a subsequent Memorandum to the BOP on April 3, 2020, in which he emphasizes

   that police officers protecting the public face an increased risk from COVID-19 and cannot avoid

   exposure to the virus, with their numbers dwindling as officers who contract the virus become ill

   or die or need to recover or quarantine to avoid spreading the disease. Accordingly, he cautions:

          The last thing our massively over-burdened police forces need right now is the
          indiscriminate release of thousands of prisoners onto the streets without any
          verification that those prisoners will follow the laws when they are released, that
          they have a safe place to go where they will not be mingling with their old criminal
          associates, and that they will not return to their old ways as soon as they walk
          through the prison gates.

   As the court noted in United States v. Preston, “[t]he best predictor of how [Defendant] will

   behave if he were to be released is how he behaved in the past, and his track record is a poor

   one.” No. 3:18-CR-307-K, 2020 WL 1819888, at *4 (N.D. Tex. Apr. 11, 2020) (quoting United

   States v. Martin, 447 F. Supp. 3d 399, 403 (D. Md. 2020)). Here, there is no reason to believe

   that Cisneros would not revert to his drug-dealing and drug-abusing activities if released from

   prison at this juncture.

          In short, Cisneros has failed to satisfy his burden of showing the necessary circumstances

   to warrant relief under the statutory framework to which the court must adhere. See United States

   v. Dodge, No. 17-323-01, 2020 WL 3668765, at *5 (W.D. La. July 6, 2020) (stressing that “the

   rampant spread of the coronavirus and the conditions of confinement in jail, alone, are not

   sufficient grounds to justify a finding of extraordinary and compelling circumstances”); Koons,

   455 F. Supp. 3d at 291-92 (same). As the court observed in Koons, rejecting the notion that it has

   “carte blanche” authority to release whomever it chooses, “[t]he Court cannot release every

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   prisoner at risk of contracting COVID-19 because the Court would then be obligated to release

   every prisoner.” Dodge, 2020 WL 3668765, at *6; Koons, 455 F. Supp. 3d at 292.

   III.   Conclusion

          Consistent with the foregoing analysis, Cisneros’s Motion for Modification of Sentence

   Seeking Compassionate Release (#820) is DENIED.

           SIGNED at Beaumont, Texas, this 12th day of January, 2021.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE




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